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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 JUSTIN GUY,
                                                    Case No.: 20-cv-12734
              Plaintiff,
                                                    Hon. Mark A. Goldsmith
 v.

 ABSOPURE WATER COMPANY, LLC,

              Defendant.
                                              /

                        DECLARATION OF KEVIN PHIPPS

       I, KEVIN PHIPPS, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.     I make this Declaration upon personal knowledge and state that the

 information specified below is true to the best of my knowledge and, if sworn as a

 witness, I would be competent to testify to the same.

       2.     I worked as a Truck Driver for ABSOPURE WATER COMPANY

 (“Defendant”) from to approximately September 2017 to August 2021.

       3.     Throughout my employment, I did not regularly drive routes that

 crossed state lines.

       4.     In fact, I estimate that 90% of my routes were exclusively in Michigan.

       5.     I also drove Absopure sprinter vans, which I understand to weigh less

 than 10,001 pounds on approximately 50% of my routes.
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        07/20/23
 Dated: ____________
                                             kevin phipps
                                             __________________________
                                           kevin phipps (Jul 20, 2023 10:49 EDT)

                                                  KEVIN PHIPPS




                                       2
